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1141/2005 Frye, Don

IN TNE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
2005-WH-377

Case No. (BNB}

 

DEPOSITION OF: DON STANLEY FRYE

November 1, 2005

 

MOISES CARRANZA-REYES,
Plaintiff,

ve

PARK COUNTY, a public entity of the State of Colorado and its
governing board, THE PARK COUNTY BOARD OF COUNTY
COMMISSIONERS; PARK COUNTY SHERIFF'S OFFICE,
of the State of Colorado; FRED WEGENER,
his official capacity as Sheriff of Park County,

a public entity
individually and in
Colorado;

MONTE GORE,
Park County Sheriff's Department; VICKIE PAULSEN,
ancl in her official capacity as Registered Nurse for Park
JAMES BACHHAN, M.D,

official capacity as Medical Director of the Park County Jail,

individually and in his capacity as Captain of
individually

County, Colorado; individually and in his

Refendants.

 

TAKEN PURSUANT TO NOTICE AND AGRERHENT on behaif of the
at 9:00

Plaintiff at 824 Castello, Fairplay, Colorads @n440

 

before The a4. Uofiman, Federal Certified

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11/1/2005 Frye, Don

APPEARANCES
GILLIAN A. TRINE,
Trine & Metcalf,
1435 Arapahos
Boulder, Colorade 80302

Plaintiff: nso.

Bc.

For the

LLOYE Cc, KORDICK, ESO.
30S South Cascade
Colorado Springs, Colorado 60903

JOSEPH J. ARCHULETA, ESQ.

haw Office of Joseph J. Archuleta
1724 Ogden Street

Denver, Colorado 80218

JENNIFER L. VEIGA, ESQ.

Hall G Evans, LLC

1125 17th Street

Suite 600

Denver, Colorade 30202

For the Defendants

Park County, Park
County Board of
Commissioners, Park
County Sheriff's Office,
Wegener and Gore:

STEPHEN A. GROOHE,
P.O. Box 1373
SOL Main Street

RSQ.

Fairplay, Colorado 80446

For the Defendant MELANIE B. LEWIS, ESQ.

Paulsen: Berg Hili Greenleaf & Ruscitti LLP
1712 Pearl Street
Boulder, Colorado #0362

For Lhe Defendant ANDREW WW. JURS, HSQ.

Bachman: Johnsen MaConaty £ Sargent, P.C.
400 South Colorado Boulevard
Suite 900
Glendale, Colorado 80246

Also Present: Hone

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11H2005 Fryc, Don

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By Mr. Archuleta co
By Mr. Kordick “7
By Ms. Veiga --
By be. Groome --
By Ms. Lewis oo
By Mr, Jurs 132

INITIAL
DEPOSITION MAHEBITS: REFERENCE
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REQUESTED PORTIONS OF TESTIMONY: PAGE.
Request for document production --
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To EXHIB?

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41/1/2005 Frye, Don

WHEREVEON, the within nreceedings were taken

Rules of Civil Procedure:

At this time Mr. Groome was not present in

the deposition room.}

having been first duly sworn

examined and testified as

BY MR.

a.

office address for

DON STANLEY FRYE

to state the whale bruth, was

 

EXAMINATION

TRONE:

touid you please state your full name and

the record.

A, office address?
Oo. Or home address, whichever you prefer using.
MS. VEGA: Why don‘t you give Ehem your
work address.
AY Hy name is Don Stanley Frye, and my work

 

 

is

1189 County Roac 14, Fairplay, Colorade 80446,

iHY WR. TRIWE}

 

And ¢ is your occupation

on?

loam a detentions depuky.

And you're employed at the Park County Jail?

 

correct.

     

ahak Your cducational background?

 

I have two years of college.

Qkay. And your work history anc summs

 

Paulsen’s A-24

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A. No,

Q. Didn't talk to or meet with Monte Gore apart
from a meeting with counsel?

AL I met with the captain some months ago about
when this gentleman called me on the phone findicated}.

a. Okay. And any other meetings with Monte

Gore or anyone else about this case or meeting wilh

counsel?
HS. VEIGA: Other than meeting with counsel?
a, (BY MR. TRINE}) I’m sorry, about this case.
A, I think a skem-off of letting him know Uhat

I was being called by Carranza-Rkeyes's counsel, I think
he asked me about the conditions, and I wrote a report
about -- it. was in response to the Flume article, and T
wrote a report from my recollection of what had occurred
when this thing happened, telling hin my versions of what
had oceuered.

o. And What was the approximate dale of that
report? What month? Go yau renenber?

ihe Io knew it's been -~+ I'd say probaoty within
a month or maybe two of being called by his counsel.

  

cane up.

11/1/2005 Frye, Don

G. Any otfer weitten reports that you were

asked to author as a result of the Carranza-Reyes

incident?
AR I think f’ve dene a tetal of two reports.
One was -- as IT recall, §| think the day after they

evacuated him to the hospital, and then the one I told
you about. if was in response to the Flume article.
Q. Let's see. Why don't we look nexeE ab
Exhibit 1. There if is. And af you Lurn past that first
page, you'll see that these are documents numbered in
the -- or Bates-stamped in the lower right-hand corner
and Lhey're the Park County Jail sergeant's daily leg,
and if you'll look at page 45, you'll see that this is an
interoffice memorandum from Sergeant Fhint to Sergeant
HMuldeon during the day shift on March 4, 2003, and
there's an indication by Sergeant Flint that one of the
detainees in 0 Pod had been complaining of serious pains

on bis lefh and if was recommended he see the nurse

 

=. You see that in that first

sentence?

A, Yes, I seo that.

guond paragraph, if

 
 

a

ates in 2 Bod appear fa

iq chest colds, slash, flu aor altitude

 

Sickness, Officers placed the coolers in tnere overnight

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with drinks and water. Do you see that?

A. Yes, I do,

Qo. Is this the type of information which would
be available to you when you came on shift at midnight
that night?

MS, LEWES: Object to the form of the

question.
A, Yes.
G. (BY MR. TREINE) And when you would come on

shift at midnight and learn that one of the detainees had
serious pains in his left side and there were others that
appeared Lo be sick, would you customarily follow up on
that and abserve Lhose inmates?

MS, VEIGA: Objection to the form and

foundation.

‘ee
i
it
uw

Oo. (BY HR. TRINE} Do you have a memory of
doing so in this case?

A. Yeas.

QO. Ane when you cams on duty that night at

midnighk, whal was the condition of this inmate who had

   

ining of sarie pains on his tefl side? fo

 

i the murs and

   

ho had see

 

bhal we were treating him for flulike conditions, and

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11/1/2005 Frye, Bon

that, per his request, if he needed ibuprofen or
Pepto-Bismol, he was allowed to get them. And that if
his situation worsened, we were Lo call her.

a. And did you have any direct contact with him
through an inlerpreter that night?

A, Yes.

a. Where did that occur?

B. Tk occurred first in the pod, and during the
course of Lhe night, I teek him back Lo medical.

a And why did you do that?

A. I Ehought if it was altitude sickness, a
little oxygen might relieve his discomfort, so I took him
pack to get oxygen. I had the interpreter with him, and
I asked him about his symptoms. He did express that he
had a pain in his side. I can't remember exactly where.
I remember looking at it. I saw no detormities, no
discoloration. f asked about his symptoms, and | dida
medical history, Like I have heen trained Lo do as a
medical first responder.

Q. So you have a specific memory of seeing this
inmate, Herbert Maprazo-Hazariegos when you came on duty
or nak?

a. I don't know if I recall this particular
person. The only one ft recall

Q. Well, that's who we've heen taiking about.

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14/4/2005 Frye, Don

COFFMAN REPORTING & LITIGATION SUPPORT, INC,
1440 Blake Street, Suite 320
Denver, Colorado 80202
303.693.0202

Noverber §, 2005

ANDREW D. RINGEL, ESQ-
JENNIFER L, VEIGA, BSG.
Hall & Evans, LLC

1125 17th Street

Suite 600

Denver, Colorado 80702

Re: Carranza-Reyes v, Park County, et al.
Deposition of: BON STANLEY FRYE

Date of Deposition: November 1, 2005
Trial Bate: None set

Dear Hr. Ringel and Ms. Veiga:
Enclosed is the original signature page of the above
deposition, {[ was agreed you would arrange for the wilness's
signature with your copy of the transeript.
Amendment sheets are included. After the signature page and
amendment sheets are signed, please have both notarized and
return for filing to

this office withtn 20 days pursuant

to Rule 3o,

Thank you for your prompt athention fo this matter.

al
] REPORTING 303.893 Gene
TO CONFIDENTIALITY DESIGNATIONS

 

* SUBIRCY

 

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11/1/2005 Frye, Don

COPFRUAN REPORTING « LITIGATION SUPPORT, INC.
id4f Blake Skreet, Suite 220
Denver, Colorado 80202
303,893.0202

WILLIAM A. TRINE, ESQ.
Trine & Metcalf, B.C.
4143S Arapahoe

Houider, Colorado 60302

Re: Cartanza-Reyes v. Park County, et al,
Deposition of: DON STANLEY PRYE

Date of Deposition: Novemher 1, 2005
Trial Date: None set

Enclosed is:

{ ] ORIGINAL TRANSCRIPT, Please retain unopened
original until it is required by any party in a
trial or hearing in the above matter.

( } ORIGINAL SIGNATURE PAGE
— with — without corrections; copics provided ta
other counsel; please append these sealed originals
to original transcript in your possession.

§  } Ne signature or correction sheets received,
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See letter within deposition.

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wot Attending counsel

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